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 May 15, 2025
BY CM/ECF HAND DELIVERY
The Honorable J. Campbell Barker
William M. Steger Federal Building and United States Courthouse
211 W. Ferguson
Tyler, TX 75702


               Re:     Seakeeper, Inc. v. Dometic Corp.
                       C.A. No. 2025-0484-JCB

Dear Judge Barker:

       We are counsel for Plaintiff, Seakeeper, Inc. in the above referenced matter. Per Your
Honor’s Standing Order, we are enclosing courtesy copies of papers relating to Seakeeper’s
Motion for Entry of a Temporary Restraining Order With Notice. As noted in that Motion, these
papers have been filed in accordance with your Honor’s Order relating to emergency motions and
motions where an immediate ruling is needed to preserve a party’s substantive rights. See JCB-
CV-7.3(d)(4) and (6).

        Seakeeper recently filed a motion seeking a preliminary injunction (D.I. 8) to prevent
infringement by Defendant Dometic Corporation of two U.S. Patents owned by Seakeeper.
Defendant has rejected any kind of standstill pending a hearing on that motion and has rejected
Seakeeper's proposal for a hearing on that motion prior to the date Defendant has announced it will
begin shipment of the infringing products. As a consequence, Seakeeper seeks a temporary
restraining order to maintain the status quo until a hearing may be held on its request for a
preliminary injunction. Seakeeper is likely to be irreparably harmed during any delay before its
request for a preliminary injunction can be heard, and it will not be possible to adequately
compensate Seakeeper for such harm by means of a later award of monetary damages.

        Consistent with Delaware Local Rule 7.1.4, Seakeeper would ask that the Court schedule
an oral hearing on its request for a restraining order at the earliest opportunity convenient to the
Court. In order to have the Court’s guidance before Dometic begins shipments of infringing
products, we respectfully request a hearing before the end of May. Defendant has been provided
notice of Seakeeeper’s motion and Defendant’s counsel is copied on this correspondence.

       We appreciate the Court’s consideration of our request.
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                                         Respectfully

                                         /s/ Kelly E. Farnan

                                         Kelly E. Farnan (#4355)



Enclosures
cc: Counsel of record (via CM/ECF w/o enclosures)
